      Case 4:17-cv-00140-BMM-JTJ Document 25 Filed 09/30/19 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,

                         Plaintiff,                 CV 17-140-GF-BMM-JTJ

           vs.
                                                    ORDER OF DISMISSAL
 CHARLES JANSKY, SOMONT OIL
 COMPANY, INC., and FERDIG OIL
 COMPANY, INC.,
                Defendants.


       Upon consideration of the joint stipulation for dismissal filed by the plaintiff

and defendants, IT IS HEREBY ORDERED that all claims of the plaintiff, United States of

America, against the defendants, Charles Jansky, Somont Oil Company, Inc., and Ferdig Oil

Company, Inc., are dismissed with prejudice as fully compromised and settled on the merits,

each party to bear their own costs and expenses.

       DATED this 30th day of September, 2019.
